Case 0:11-cv-60911-DLG Document 61 Entered on FLSD Docket 08/20/2012 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                    Case No. l1-60911-CIV-GRAHAM/GOODMAN

 FR AN K MAN FR ED , I I ,

        Plaintiff,

 VS .

 CAB ASSET MANAGEMENT ,

        Defendant .


                                        ORDE R

        THIS CAUSE came before the Court upon Plaintiff's Verified

 Motion for an Award of Costs and Attorney 's Fees. ED .E . 481.
        THE COURT has conducted a de novo review of the file and is

 otherwise fu lly advised in the prem ises .

        THIS MATTER was assigned to the Honorab le United States

 Magistrate Judge Jonathan Goodman. (D.E . 55J              Magistrate Judge
 Goodman issued the instant Report recommending that Plaintiff 's

 motion for attorney 's fees and sanctions be granted in part. (D.E .
 6O) Specifically, the Magistrate Judge recommends that the Court
 award Plaintiff attorney's fees in the amount of $2,469.00 and
 $405.00        costs, for a total award            $2,874 .00 in reasonable
 attorney 's fees and costs. ED .E. 601. The parties filed no timely
 objections to the Magistrate Judge's report. Accordingly, it is
        ORDERED AHn ADJUDGED          that United States Magistrate Judge

 Goodman 's Report is hereby RATIFIED , AFFIRM ED and APPROVED in its
Case 0:11-cv-60911-DLG Document 61 Entered on FLSD Docket 08/20/2012 Page 2 of 2




 entirety    ED .E. 6O)    It is further

        ORDERED AND ADJUDGED that Plaintiff 's Verified Motion for an

 Award of Costs and Attorney's Fees ED.E. 48) is GRANTED in part and
 DENIED in part for the reasons specified in the Magistrate Judge 's

 Report. Plaintiff shall be awarded $2,469.00 in attorney's fees and
 $405.00 in costs, for a total award of           $2,874 .00 in reasonable
 attorney's fees and costs .



        DONE AND ORDERED   in Chambers at Miami,    Florida , this   2o    a
 of August, 2012 .




                                           DONALD L . GRAHAM
                                           UNITED STA TES DISTRICT JUDGE


 cc :   U .S . Magistrate Goodman
        Counsel of Record




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